                     Case 1:09-cr-00030-JTN
     AO 472 Order of Detention Pending Trial
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                           WESTERN DISTRICT OF MICHIGAN
     UNITED STATES OF AMERICA             ORDER OF DETENTION
             V.                           PENDING TRIAL
     MONOLITO MANUEL NELSON                                                                    Case Number:         1:09-CR-30

            In accordance with the Bail Reform Act, 18 U.S.C.§3142(f), a detention hearing has been held. I conclude that the following facts
     require the detention of the defendant pending trial in this case.
                                                                   Part I - Findings of Fact
              (1)      The defendant is charged with an offense described in 18 U.S.C. §3142(f)(1) and has been convicted of a (federal
                       offense) (state or local offense that would have been a federal offense if a circumstance giving rise to federal jurisdiction had
                       existed) that is
                             a crime of violence as defined in 18 U.S.C.§3156(a)(4).
                             an offense for which the maximum sentence is life imprisonment or death.
                             an offense for which the maximum term of imprisonment of ten years or more is prescribed in

                              a felony that was committed after the defendant had been convicted of two or more prior federal offenses described in 18
                              U.S.C.§3142(f)(1)(A)-(C), or comparable state or local offenses.
             (2)      The offense described in finding (1) was committed while the defendant was on release pending trial for a federal, state or local
                      offense.
             (3)      A period of not more than five years has elapsed since the (date of conviction) (release of the defendant from imprisonment) for
                      the offense described in finding (1).
             (4)      Findings Nos. (1), (2) and (3) establish a rebuttable presumption that no condition or combination of conditions will reasonably
                      assure the safety of (an)other person(s) and the community. I further find that the defendant has not rebutted this
                      presumption.
                                                                     Alternate Findings (A)
     ✘       (1)      There is probable cause to believe that the defendant has committed an offense
                       ✘     for which a maximum term of imprisonment of ten years or more is prescribed in 21 U.S.C. § 801 et seq
                             under 18 U.S.C.§924(c).
     ✘       (2)      The defendant has not rebutted the presumption established by finding 1 that no condition or combination of conditions will
                      reasonably assure the appearance of the defendant as required and the safety of the community.
                                                                     Alternate Findings (B)
     ✘       (1)      There is a serious risk that the defendant will not appear.
     ✘       (2)      There is a serious risk that the defendant will endanger the safety of another person or the community.
                      Defendant is 33-year-old Grand Rapids native. Defendant has a lengthy adult criminal record beginning with a prison term
                      from 1992 to 2004 for delivery of cocaine and heroin. Defendant has 6 convictions since his release from prison, mostly for
                      repeated driving on a suspended license. He also was sentenced to a year in jail prior to his prison term for discharge of a
                      firearm. He has two extremely serious juvenile convictions as well, one for assault with intent to commit great bodily harm,
                      and the other for assault with intent to commit murder. (continued on attachment)

                                           Part II - Written Statement of Reasons for Detention
I find that the credible testimony and information submitted at the hearing establishes by clear and convincing evidence that
   no condition or combination of conditions will assure the safety of the community or the presence of the defendant based
   upon the unrebutted presumption. In the alternative, I find by a preponderance of the evidence that no condition or
   combination of conditions will assure the presence of the defendant in light of his demonstrated history of being able to avoid
   the police who had been looking for him since the beginning of the year, and his attempt to (continued on attachment)
                                                      Part III - Directions Regarding Detention
       The defendant is committed to the custody of the Attorney General or his designated representative for confinement in a corrections
  facility separate, to the extent practicable, from persons awaiting or serving sentences or being held in custody pending appeal. The
  defendant shall be afforded a reasonable opportunity for private consultation with defense counsel. On order of a court of the United States
  or on request of an attorney for the Government, the person in charge of the corrections facility shall deliver the defendant to the United
  States marshal for the purpose of an appearance in connection with a court proceeding.


    Dated:         April 6, 2009                                                                /s/ Hugh W. Brenneman, Jr.
                                                                                                                        Signature of Judicial Officer
                                                                                              Hugh W. Brenneman, United States Magistrate Judge
                                                                                                                     Name and Title of Judicial Officer

          *Insert as applicable: (a) Controlled Substances Act (21 U.S.C. §801 et seq. ); (b) Controlled Substances Import and Export Act (21 U.S.C. §951 et seq. ); or
    (c) Sectlon 1 of Act of Sept. 15, 1980 (21 U.S.C. §955a).
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Alternate Findings (B) - (continued)

Most recently, defendant failed to appear for an arraignment in October 2008. A show cause order was issued and
defendant failed to appear for that hearing in November as well. Defendant remained at large until March 30, 2009,
when he was arrested on a bench warrant. At the time of the arrest, defendant attempted to use a false name to avoid
apprehension. Defendant admitted at the time of his arrest that he knew a warrant was outstanding.

On October 22, 2008, during a search of an apartment where defendant was found, along with mail addressed to him,
the police found 80 packages of heroin wrapped for sale, nine of which had defendant's fingerprints on them. Others
were involved, but there were no other fingerprints on any of the packaging.

Defendant was not arrested at that time (apparently because the fingerprint evidence had not come back from the lab),
but a grand jury subpoena was issued for the defendant on January 7, 2009. Despite efforts of the federal authorities
to locate the defendant following issuance of the grand jury subpoena, including multiple contacts with numerous
members of his family, defendant could not be located until he was accidently found in a car driven by another
individual which was stopped on March 29, 2009. Authorities (ATF and U.S. Marshals) had also been attempting to
locate the defendant since February 5, 2009 on an arrest warrant.

Finally, defendant frequently uses marijuana. Apparently he has ceased using heroin and cocaine, which he used
between the ages of 14 and 16. He acknowledges using those drugs approximately ten times each following his
release on parole, but has not used them since October of last year.




Part II - Written Statement of Reasons for Detention - (continued)

avoid detection when he was apprehended in someone else's car by using an alias. Notwithstanding the presence of
his mother and his sporadic work schedule as a cook at a restaurant on South Division, it is readily apparent that once
on the street, even his family does not know where he is (or will not aid the authorities in locating him).
